
11 Mich. App. 644 (1968)
162 N.W.2d 111
SHANNON
v.
GULL LAKE ASSOCIATION.
Docket No. 3,482.
Michigan Court of Appeals.
Decided June 10, 1968.
Golden &amp; Golden, for plaintiff.
Howard &amp; Howard (Frederick A. Lake, of counsel), for defendant.
PER CURIAM:
Plaintiff appeals a judgment of no cause of action for specific performance of an agreement to sell real estate. Two contracts are involved, the first dated July 21, 1961, and the second February 12, 1963. The trial court found that the second contract superseded the first contract, and that plaintiff was not entitled to specific performance of the second contract because of his failure to meet his contractual obligations thereunder. A review of the record fails to convince us we would have reached a different result had we sat as the trial court.
Specific performance is not a remedy of right but rests in the sound discretion of the court. Rose v. Gilbert (1948), 320 Mich 455. This record demonstrates no abuse of discretion.
Affirmed, with costs to defendant.
BURNS, P.J., and QUINN and ZIEM, JJ., concurred.
